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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RALPH COLEMAN, et al.,                           No. 2:90-cv-0520 LKK DB P
12                       Plaintiff,
13            v.                                       ORDER
14    EDMUND G. BROWN, JR., et al.,
15                       Defendants.
16

17

18           The matter of payment of the special master has been referred to this court by the district
19   court. The court has reviewed the bill for services provided by the Special Master in the above-
20   captioned case through the month of August 2018.
21                  Good cause appearing, IT IS HEREBY ORDERED that:
22                  1. The Clerk of the Court is directed to pay to
23                          Pannone Lopes Devereaux & O’Gara LLC
                            Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                          Northwoods Office Park, Suite 215N
                            1301 Atwood Avenue
25                          Johnston, RI 02919
26   the amount of $594,602.87 as payment of the attached statement; and
27   /////
28
                                                       1
     Case 2:90-cv-00520-KJM-DB Document 5940 Filed 10/09/18 Page 2 of 5

 1            2. A copy of this order shall be served on the financial department of this court.
     Dated:
 2
     Dated: October 5, 2018
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     /cole18.aug
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     Case 2:90-cv-00520-KJM-DB Document 5940 Filed 10/09/18 Page 3 of 5

 1   RALPH COLEMAN, et al.,                      :
         Plaintiffs,                             :
 2                                               :       No. Civ. S-90-0520 LKK JFM P
            v.                                   :
 3                                               :
     EDMUND G. BROWN, JR., et al.                :
 4       Defendants.

 5   The Special Master hereby submits his latest statement for fees and disbursements, including
     those accrued through August 31, 2018.
 6
     Matthew A. Lopes, Jr., Special Master
 7                Services                       $25,526.00
                  Disbursements                  $25,263.00
 8
                           Total amount due                     $50,789.00
 9
     Mohamedu F. Jones, J.D., Deputy Special Master
10               Services                     $55,381.00
                 Disbursements                $     0.00
11
                           Total amount due                     $55,381.00
12
     Kerry F. Walsh, J.D.
13                 Services                      $44,374.00
                   Disbursements                 $     0.00
14
                           Total amount due                     $44,374.00
15
     Kristina M. Hector, J.D.
16                 Services                      $41,924.00
                   Disbursements                 $     0.00
17
                           Total amount due                     $41,924.00
18
     Steven W. Raffa, J.D.
19                Services                       $37,605.00
                  Disbursements                  $     0.00
20
                           Total amount due                     $37,605.00
21

22   Regina M. Costa, MSW., J.D.
                  Services                       $45,094.50
23                Disbursements                  $     0.00

24                         Total amount due                     $45,094.50

25
     LaTri-c-ea McClendon-Hunt
26                Services                       $39,186.25
                  Disbursements                  $     0.00
27
                           Total amount due                     $39,186.25
28
                                                     3
     Case 2:90-cv-00520-KJM-DB Document 5940 Filed 10/09/18 Page 4 of 5

 1   Angelyne E. Cooper
                  Services                   $39,480.00
 2                Disbursement               $     0.00

 3                        Total amount due                $39,480.00

 4   Kerry C. Hughes, M.D.
                  Services                   $43,238.00
 5                Disbursements              $ 3,147.93

 6                        Total amount due                $46,385.93

 7   Jeffrey L. Metzner, M.D.
                    Services                 $ 4,325.00
 8                  Disbursements            $     0.00

 9                        Total amount due                $ 4,325.00

10   Mary Perrien, Ph.D.
                   Services                  $15,881.00
11                 Disbursements             $ 2,452.11

12                        Total amount due                $18,333.11

13   Patricia M. Williams, J.D.
                   Services                  $14,246.00
14                 Disbursements             $ 1,165.21

15                        Total amount due                $15,411.21

16   Henry A. Dlugacz, MSW, J.D.
                  Services                   $18,062.00
17                Disbursements              $ 1,244.92

18                        Total amount due                $19,306.92

19   Lindsay M. Hayes
                  Services                   $23,315.00
20                Disbursements              $ 4,942.74
21                        Total amount due                $28,257.74

22
     Timothy A. Rougeux
23                Services                   $18,825.12
                  Disbursements              $ 594.13
24
                          Total amount due                $19,419.25
25
     Cynthia A. Radavsky, M.Ed
26                 Services                  $12,430.38
                   Disbursements             $ 1,556.66
27
                          Total amount due                $13,987.04
28
                                                4
     Case 2:90-cv-00520-KJM-DB Document 5940 Filed 10/09/18 Page 5 of 5

 1   Roderick Q. Hickman
                   Services                        $ 8,739.58
 2                 Disbursements                   $ 421.55

 3                           Total amount due                     $ 9,161.13

 4   Maria Masotta, Psy.D.
                   Services                        $38,848.00
 5                 Disbursements                   $ 5,165.73

 6                           Total amount due                     $44,013.73

 7   Karen Rea PHN, MSN, FNP
                 Services                          $21,876.20
 8               Disbursements                     $ 291.86

 9                           Total amount due                     $22,168.06

10
     TOTAL AMOUNT TO BE REIMBURSED                                        $594,602.87
11

12   Receipts for justification of reported expenditures are available upon request.

13
     Respectfully submitted,
14
     /s/ Matthew A. Lopes, Jr.
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     Matthew A. Lopes, Jr.
16   Special Master

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